
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SMITH2023 OK 83Case Number: SCBD-7326Decided: 07/26/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 83, __ P.3d __

				

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STATE OF OKLAHOMA ex rel., OKLAHOMA BAR ASSOCIATION, Complainant,
v.
JASON DAVID SMITH, Respondent.



ORDER APPROVING RESIGNATION FROM THE OKLAHOMA BAR 
ASSOCIATION PENDING DISCIPLINARY PROCEEDINGS



¶1 Pursuant to Rule 8 (Resignation Pending Disciplinary Proceedings), Oklahoma Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A, Respondent submitted an affidavit, filed July 3, 2023, seeking to resign his membership in the Oklahoma Bar Association (OBA) and relinquish his right to practice law pending disciplinary proceedings. On the same date, Complainant filed an application to this Court for an order approving the resignation of Respondent. Upon consideration of the matter we find:

1. Respondent executed an affidavit on June 23, 2023, wherein he asks to be allowed to resign his membership in the OBA and relinquish his right to practice law. Although he is aware his resignation is subject to the approval of this Court within its discretion, he intends it to be effective from the date of its execution and represents he will conduct his affairs accordingly.

2. Respondent's resignation was freely and voluntarily tendered, he was not subject to coercion or duress, and he was fully aware of the consequences of submitting his resignation.

3. Respondent is aware that formal charges have been filed against him pursuant to Rule 6 in SCBD 7326, alleging thirteen counts of violations of the Oklahoma Rules of Professional Conduct and Rules Governing Disciplinary Proceedings and one count of Breach of Diversion Contract. Respondent attached a copy of the Second Amended Complaint, filed May 11, 2023, setting forth the specific allegations against him.

4. Respondent is aware that, if proven, the allegations concerning his conduct would constitute violations of Rules 1.1, 1.3, 1.4, 1.5, 1.15, 8.4(a),(c), and (d) of the Oklahoma Rules of Professional Conduct (ORPC), 5 O.S.2011, ch. 1, app. 3-A, and Rule 1.3, RGDP, and his oath as an attorney. Respondent waives any right to contest the allegations.

5. Respondent's Oklahoma Bar Association Number is 19940 and he was admitted to membership in the OBA on September 30, 2003. Respondent's official roster address is: P.O. Box 19, 501 S. Main Street, Jay, OK 74346.

6. Respondent has familiarized himself with the provisions of Rule 9.1, RGDP, and has agreed to comply with the provisions of such Rule within twenty days following the date of his affidavit of resignation.

7. Respondent acknowledges and agrees he may be reinstated to practice law only upon full compliance with the conditions and procedures prescribed by Rule 11, RGDP, and that he may make no application for reinstatement to the practice of law prior to the expiration of five years from the effective date of the Order approving his Resignation Pending Disciplinary Proceedings.

8. Respondent acknowledges that as a result of his conduct, the Client Security Fund may receive claims from his former clients and agrees that should the Oklahoma Bar Association approve and pay such claims, he will reimburse the Client Security Fund the principal amounts and the applicable statutory interest prior to the filing of any application for reinstatement.

9. Respondent affirms he will tender his Oklahoma Bar Association membership card to the Office of the General Counsel.

10. Respondent acknowledges and agrees he is to cooperate with the Office of the General Counsel in identifying any active client cases wherein documents and files need to be returned to the client or forwarded to new counsel, and any fees or refunds owed by him to clients.

11. Respondent acknowledges that the OBA may have incurred costs in this matter and that he is responsible to reimburse same upon the filing of an application to assess costs by the Complainant.

12. The resignation pending disciplinary proceedings of Respondent is in compliance with Rule 8.1, RGDP.

¶2 IT IS ORDERED that Complainant's application for an Order approving the resignation pending disciplinary proceedings of Respondent, Jason David Smith, is granted, Respondent's resignation is accepted and approved, and his right to practice law is relinquished.

¶3 IT IS FURTHER ORDERED that Respondent's name, Jason David Smith, be stricken from the Roll of Attorneys and that he may not apply for reinstatement to membership in the Oklahoma Bar Association prior to expiration of five years from the effective date of this Order.

¶4 IT IS FURTHER ORDERED that Respondent shall comply with Rule 9.1, of the Rules Governing Disciplinary Proceedings.

¶5 IT IS FURTHER ORDERED that Respondent shall pay costs in the amount of $59.64 to the Oklahoma Bar Association within ninety (90) days of the date of this Order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 26th day of July, 2023.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.




